              Case 0:22-cv-60338-RAR Document
JS 44 (Rev. 10/20) FLSD Revised 02/12/2021    1-1 COVER
                                           CIVIL  Entered SHEET
                                                          on FLSD Docket 02/15/2022 Page 1 of 2
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)      PLAINTIFFS                                                                                           DEFENDANTS
                                   See Attachment                                                                                          Luis Alfonso Plazas Vega

   (b)     County of Residence of First Listed Plaintiff       c/o counsel listed below                          County of Residence of First Listed Defendant         Broward
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                             (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                           THE TRACT OF LAND INVOLVED.
   (c)    Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

        See Attachment

(d) Check County Where Action Arose:                 MIAMI- DADE        MONROE         BROWARD         PALM BEACH      MARTIN     ST. LUCIE     INDIAN RIVER      OKEECHOBEE       HIGHLANDS


II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                             (For Diversity Cases Only)                                       and One Box for Defendant)
    1    U.S. Government                  3                   Federal Question                                                        PTF        DEF                                          PTF DEF
           Plaintiff                             (U.S. Government Not a Party)                         Citizen of This State            1           1    Incorporated or Principal Place          4      4
                                                                                                                                                         of Business In This State

    2    U.S. Government                  4                      Diversity                             Citizen of Another State            2         2   Incorporated and Principal Place          5          5
           Defendant                             (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                       Citizen or Subject of a             3         3   Foreign Nation                            6          6
                                                                                                         Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)                               Click here for: Nature of Suit Code Descriptions
            CONTRACT                                          TORTS                                     FORFEITURE/PENALTY                       BANKRUPTCY                         OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                   PERSONAL INJURY               625 Drug Related Seizure               422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                            310 Airplane                      365 Personal Injury -             of Property 21 USC 881             423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                        315 Airplane Product                  Product Liability         690 Other                                  28 USC 157                       3729 (a))
  140 Negotiable Instrument                 Liability                     367 Health Care/                                                                                        400 State Reapportionment
  150 Recovery of Overpayment           320 Assault, Libel &                  Pharmaceutical                                                    PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment             Slander                           Personal Injury                                                  820 Copyrights                     430 Banks and Banking
  151 Medicare Act                      330 Federal Employers’                Product Liability                                                830 Patent                         450 Commerce
  152 Recovery of Defaulted                 Liability                     368 Asbestos Personal                                                835 Patent – Abbreviated           460 Deportation
                                                                                                                                                 New Drug Application
                                                                               Injury Product Liability                                        840 Trademark                      470 Racketeer Influenced and
        Student Loans                   340 Marine                                                                                             880 Defend Trade Secrets           Corrupt Organizations
                                                                                                                                                Act of 2016
        (Excl. Veterans)                345 Marine Product                                                          LABOR                       SOCIAL SECURITY                   480 Consumer Credit
                                                                                                                                                                                    (15 USC 1681 or 1692)
  153 Recovery of Overpayment                 Liability               PERSONAL PROPERTY                   710 Fair Labor Standards             861 HIA (1395ff)                   485 Telephone Consumer
                                                                                                                                                                                  Protection Act (TCPA)
      of Veteran’s Benefits             350 Motor Vehicle                 370 Other Fraud                     Act                              862 Black Lung (923)               490 Cable/Sat TV
  160 Stockholders’ Suits               355 Motor Vehicle                 371 Truth in Lending            720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g))             850 Securities/Commodities/
  190 Other Contract                        Product Liability             380 Other Personal              740 Railway Labor Act                864 SSID Title XVI                 Exchange
  195 Contract Product Liability        360 Other Personal                    Property Damage             751 Family and Medical               865 RSI (405(g))                   890 Other Statutory Actions
  196 Franchise                             Injury                        385 Property Damage                 Leave Act                                                           891 Agricultural Acts
                                        362 Personal Injury -                 Product Liability           790 Other Labor Litigation                                              893 Environmental Matters
                                            Med. Malpractice                                              791 Empl. Ret. Inc.                                                     895 Freedom of Information
       REAL PROPERTY                       CIVIL RIGHTS                PRISONER PETITIONS                     Security Act                     FEDERAL TAX SUITS                  Act
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                                                        870 Taxes (U.S. Plaintiff          896 Arbitration
    220 Foreclosure                     441 Voting                       463 Alien Detainee                                                         or Defendant)                 899 Administrative Procedure
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                                 871 IRS—Third Party 26 USC          Act/Review or Appeal of
                                                                         Sentence                                                              7609                               Agency Decision
    240 Torts to Land                   443 Housing/                        Other:                                                                                                950 Constitutionality of State
                                        Accommodations                                                                                                                            Statutes
    245 Tort Product Liability          445 Amer. w/Disabilities -       530 General                          IMMIGRATION
    290 All Other Real Property             Employment                   535 Death Penalty                462 Naturalization Application
                                        446 Amer. w/Disabilities -       540 Mandamus & Other             465 Other Immigration
                                            Other                        550 Civil Rights                     Actions
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee –
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN                   (Place an “X” in One Box Only)
    1    Original          2 Removed         3 Re-filed            4 Reinstated          5   Transferred from            6 Multidistrict        7 Appeal to               8 Multidistrict
         Proceeding          from State        (See VI               or                      another district            Litigation
                                                                                                                                                  District Judge            Litigation      9 Remanded   from
                                                                                                                                                                                              Appellate Court
                             Court             below)                Reopened                (specify)                   Transfer
                                                                                                                                                  from Magistrate           – Direct
                                                                                                                                                  Judgment                  File

VI. RELATED/                              (See instructions): a) Re-filed Case               YES         NO              b) Related Cases          YES X NO
RE-FILED CASE(S)                                          JUDGE:                                                                                  DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 28 U.S.C. § 1331 Complaint for Claims of Torture and Extrajudicial Killing
                     LENGTH OF TRIAL via 7    days estimated (for both sides to try entire case)
VIII. REQUESTED IN      CHECK IF THIS IS A CLASS ACTION
                                                                  DEMAND $                       CHECK YES only if demanded in complaint:
    COMPLAINT:          UNDER F.R.C.P. 23
                                                                                                                                                   JURY DEMAND:                     Yes         No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                            SIGNATURE OF ATTORNEY OF RECORD
         February 15, 2022                                                                                                           /s/ Betty Chang Rowe
FOR OFFICE USE ONLY : RECEIPT #                               AMOUNT                             IFP                 JUDGE                               MAG JUDGE
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                                     Attachment to Civil Cover Sheet [JS 44]



  I. (a) PLAINTIFFS

  Helena Urán Bidegain in her individual capacity and in her capacity as the legal representative of the Estate of Carlos
  Horacio Urán Rojas, Xiomara Urán, in her individual capacity, and Mairée Urán Bidegain, in her individual capacity.

  I (c)    Attorneys (Firm Name, Address, and Telephone Number)
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